     Case: 1:15-cv-03673
                   IN THEDocument #: 1 Filed:DISTRICT
                          UNITED STATES       04/27/15 Page
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                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

ROYAL WILLIAMS, as parent and next
friend of JADEN WILLIAMS, a minor,           )
                                             )
                      Plaintiff,             )
                                             )       Case No.
              v.                             )
                                             )       Judge
OFFICER MICHAEL GAINES,                      )
                                             )       JURY DEMAND
                      Defendants.            )

                                         COMPLAINT

       NOW COMES the Plaintiff, ROYAL WILLIAMS, as parent and next friend of

JADEN WILLIAMS, a minor, by and through his attorneys, Erickson & Oppenheimer,

complaining against the Defendant, OFFICER MICHAEL GAINES, as follows:

                                      INTRODUCTION

   1) This action is brought pursuant to 42 U.S.C. §1983 to address deprivations of Plaintiff’s

      rights under the Constitution of the United States.

                                       JURISDICTION

   2) The jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42 U.S.C. §§

      1983 and 1988; 28 U.S.C. §§ 1331 and 1343(a); the Constitution of the United States;

      and pendent jurisdiction as provided under 28 U.S.C. § 1367(a).

                                            VENUE

   3) Venue is proper under 28 U.S.C. Section 1391 (b). All of the parties reside in this

      judicial district and the events described herein all occurred within this district.

                                            THE PARTIES

   4) The Plaintiff, Jaden Williams, is a 10 year old resident of the Northern District of

      Illinois.

   5) Royal Williams is the father of minor Jaden Williams and is a resident of Indiana.

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6) Case:
    On information and belief,
          1:15-cv-03673        the Defendant,
                         Document             Officer
                                      #: 1 Filed:     Gaines,Page
                                                  04/27/15    was at2 all
                                                                      of relevant
                                                                          4 PageIDtimes
                                                                                     #:2a

   duly appointed police officer of the City of Chicago and an employee and agent of

   the Chicago Board of Education acting within his scope of employment and under

   color of law.

7) Defendant, Chicago Board of Education, is a school system in Chicago, Illinois in charge

   of the management and operation of Bennett Elementary School located at or about

   10115 S Prairie Ave. in Chicago, Illinois.

                                            FACTS

8) On or about March 26, 2015, Jaden was seated at a lunch table while in school as a

   student at Bennett Elementary School.

9) On or about March 26, 2015, the Defendant was assigned to work as a police

   officer and school security officer at Bennett Elementary School.

10) The Defendant approached Jaden and exchanged words with him.

11) Thereafter, without any basis or provocation, the Defendant used undue force against

   Jaden, including without limitation shoving Jaden and causing his face to make contact

   with the lunch table.

12) Jaden sustained physical injury as a result of the Defendant’s use of force.

                             COUNT I—EXCESSIVE FORCE

13) Plaintiff hereby incorporates all previous paragraphs as though fully set forth herein.

14) The actions of the Defendant as set forth hereto constitute excessive force against

   Plaintiff, thus violating his rights under the Fourth Amendment to the United States

   Constitution and 42 U.S.C. Section 1983.

15) Said actions of the Defendant were intentional, willful and wanton and committed with

   reckless disregard for Plaintiff’s rights.

16) Said actions of the Defendant were objectively unreasonable under the circumstances.



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   17)Case:
       As a direct and proximate
             1:15-cv-03673       consequence
                             Document        of the 04/27/15
                                        #: 1 Filed: Defendant’s conduct,
                                                             Page  3 of 4the Plaintiff
                                                                          PageID    #:3

       suffered damages, including without limitation violations of his constitutional rights,

       emotional anxiety, fear, pain and suffering, and monetary expense.

        WHEREFORE, the Plaintiff prays for judgment against the Defendant for an award

 of reasonable compensatory and punitive damages, plus attorneys’ fees and costs.

                                     COUNT II— BATTERY

   18) Plaintiff hereby incorporates all previous paragraphs as though fully set forth herein.

   19) As set forth hereto and without the consent of Plaintiff, the Defendant offensively

       touched Plaintiff intentionally, with malice, and without justification.

   20) As a direct and proximate result of the Defendant’s actions, Plaintiff suffered bodily

       harm.

        WHEREFORE, the Plaintiff prays for judgment against the Defendant for an award

 of reasonable compensatory and punitive damages, plus attorneys’ fees and costs.

                             COUNT III—INDEMNIFICATION

   21) Plaintiff hereby incorporates all previous paragraphs as though fully set forth herein.

   22) At all relevant times, Defendant CHICAGO BOARD OF EDUCATION was the

       employer of the Defendant Officer.

   23) The Defendant Officer committed the acts alleged above under the color of law and in

       the scope of his employment as an employee of the CITY OF CHICAGO.

   24) In Illinois, public entities are directed to pay for any tort judgment for compensatory

       damages for which employees are liable within the scope of their employment activities.

   25) As a proximate cause of the Defendant Officer’s unlawful acts, which occurred within

       the scope of their employment, Plaintiff was injured.

       WHEREFORE, should the Defendants Officer be found liable on one or more of the

federal claims set forth above, Plaintiff demands, pursuant to 745 ILCS 10/9-102, that

Defendant CHICAGO BOARD OF EDUCATION be found liable for any compensatory
                                                3
judgment Plaintiff
     Case:         obtains against
             1:15-cv-03673         said Defendant(s),
                              Document    #: 1 Filed:plus attorneys’
                                                      04/27/15  Page fees and4 costs
                                                                       4 of    PageIDawarded
                                                                                        #:4 and

such other and additional relief that this Court deems equitable and just.

                           COUNT IV—RESPONDEAT SUPERIOR

   26) Each of the paragraphs above is incorporated by reference as though fully stated herein.

   27) In committing the acts alleged in the preceding paragraphs, the individual Defendant was

       an agent of the CHICAGO BOARD OF EDUCATION and was acting at all relevant

       times within the scope of his employment and under color of law.

   28) Defendant CHICAGO BOARD OF EDUCATION is liable as principal for all torts

       committed by its agents.

   WHEREFORE, the Defendants Officer be found liable on one or more of the state claims set

forth above, Plaintiff demands that, pursuant to respondeat superior, Defendant CHICAGO

BOARD OF EDUCATION be found liable for any compensatory judgment Plaintiff obtains

against said Defendant(s), as well as costs awarded.

                                         JURY DEMAND

        The Plaintiff requests a trial by jury.

                                      NOTICE OF ASSIGNMENT

       Please be advised that all rights relating to attorneys’ fees have been assigned to counsel.


                                                  Respectfully submitted,

                                                  /s/ Ronak Maisuria

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